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                            5         CHRISTOPHER LISNER
                            6
                            7
                            8                                 UNITED STATES DISTRICT COURT
                            9                               CENTRAL DISTRICT OF CALIFORNIA
                         10
                         11           CHRISTOPHER LISNER, an                        CASE NO.
                                      individual,
                         12
                                                      Plaintiff,             COMPLAINT FOR DAMAGES FOR
                         13                                                  VIOLATION OF UNITED STA TES
                                            v.                               CONSTITUTION-AMENDMENTS
                         14                                                  I AND XIV-RETALIATION FOR
                                      CITY OF HUNTINGTO PARK, a              FREEDOM OF SPEECH AND
                         15           municipality inco1:Rorated QY the tate FREEDOM OF ASSOCIATION
                                      ofCalitcnn1a· COSME LOZANO and ACTIVITIES (42 U.S.C. § 1983)
                         16           DOES 1 through l O inclusi e
                                                                             DEMAND FOR JURY TRIAL
                         17                       Defendant.
                         18
                         19                     COMES NOW Plaintiff CHRISTOPHER LISNER to complain against
                         20          Defendants CITY OF HUNTINGTON PARK; COSME LOZANO and Does 1
                         21          through 10, inclusive, upon knowledge as to himself and upon information and
                         22          belief as to all other matters, as follows:
                         23                                                        I.
                         24                                                PARTIES
                         25                     1.   This is an action for damages suffered by Plaintiff Christopher
                         26          Lisner ("Lisner") as the result of the Defendants' wrongful retaliatory
                         27          termination of Lisner's employment as a result of the lawful exercise of his
                         28          individual civil rights and liberties of free expression and association. As a result
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                            of Lisner's speech, which was protected under the First Amendment of the
                       2    United States Constitution, and also as a result of his association and union
                       3    activities with the Huntington Park Police Officers Association, which were also
                       4    protected under the First Amendment, Lisner was wrongfully terminated by the
                       5    Defendants from his employment as a police sergeant with the City of
                       6    Huntington Park.
                       7               2.   Lisner is, and at all relevant times herein was, a resident of the
                       8    County of San Bernardino and employed by the City of Huntington Park until his
                       9    termination of employment on January 8, 2018.
                      10               3.   The Defendant City of Huntington Park ("the City") is a
                      11    government entity/municipality within the County of Los Angeles, State of
                      12    California and is responsible for the administration, operation and control of the
                      13    City of Huntington Park Police Department.
                      14               4.   Defendant Cosme Lozano ("Lozano") is an individual who is, at all
                      15    relevant times herein was, the Chief of the Huntington Park Police Department.
                      16    In doing the things alleged herein, Lozano acted under color of state law, within
                      17    the course and scope of employment, and as an official policy-maker for the
                      18    City. As the highest-ranking person in the Police Department, Lozano is vested
                      19    with policymaking authority over department actions, including the ones alleged
                      20    and at issue in this complaint.
                      21               5.   Defendants, and each of them, were agents, servants and/or
                      22    employees, representatives, promoters, directors, officers, instruments and/or
                      23    alter egos, and/or entities unified in interest and ownership of the other
                      24    Defendants, and each of them, and in doing the things herein alleged, each
                      25    Defendant was acting within the course and scope of his/her/their representation,
                      26    direction, officiating, interest, employment, authority, agency and promotion of
                      27    all other Defendants and with the permission, ratification and consent of all other
                      28    Defendants.
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                      1                 6.   Plaintiff is ignorant of the true names and capacities of the
                     2       defendants sued herein as DOES 1 through 10, inclusive, and therefore sues said
                      3      defendants by such fictitious names. Plaintiff will amend the complaint to allege
                     4       the true names and capacities of DOES 1 through 10 when their identities have
                      5      been ascertained. Plaintiff is informed and believes, and based thereon alleges,
                     6       that each of the fictitiously named defendants are in some way responsible for
                      7      the wrongful acts, omissions and occurrences as herein alleged.
                      8                                                 II.
                     9                                  JURISDICTION AND VENUE
                    10                  7.   The Court has subject matter jurisdiction over this case under 28
                    11       U .S.C. § 1331, as this action arises under the First and Fourteenth Amendments
                    12       to the United States Constitution; under 28 U.S.C. § 1343(a)(3), in that Lisner
                    13       seeks redress for deprivations made under color of state law rights, privileges,
                    14       and immunities secured by the United States Constitution; under 28 U.S.C. §
                    15       1343(a)(4), in that Lisner seeks damages under 42 U.S.C. § 1983, which provides
                    16       a cause of action for the protection of civil rights; and under 42 U.S.C. § 1988(b)
                    17       for an award of attorneys' fees.
                    18                  8.   Venue is proper in the United States District Court for the Central
                    19       District of California under 28 U.S.C. § 139l(b), because the events giving rise
                    20       to the claims described in this Complaint occurred within the County of Los
                    21       Angeles, State of California.
                    22                                                  III.
                    23                                   GENERAL ALLEGATIONS
                    24                  9.   In or about 1995, Plaintiff Lisner was hired by the Defendarit City
                    25       of Huntington Park as a sworn peace officer. The position was a job within the
                    26       City's police department. After his employment commenced, Lisner
                    27       continuously worked for the City until his termination on January 8, 2018.
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                         1                  10.   From the time his employment commenced through the date of his
                         2       termination, Plaintiff Lisner served the City with distinction, honor, and bravery
                         3       which is reflected by the promotions, honors, and commendations he received
                         4       throughout his tenure of employment. After his hiring by the City in 1995,
                         5       Lisner began his employment as a patrol officer. Due to his outstanding job
                         6       performance and service to the City in his capacity as a patrol officer, Lisner
                         7       thereafter received coveted special assignments to the City's detective unit, gang
                         8       unit, and the Special Emergency Response Team (SERT). On April 28, 2008,
                         9       due to his outstanding job performance and excellent testing results, Lisner was
                       10        promoted to the rank of Sergeant within the City's police department. From
                       11        2008 until his unlawful termination, Lisner served his role as Sergeant with
                       12        distinction. During his tenure as Sergeant, Lisner undertook leadership roles in
                       13        various areas of the City's police department. For example, Lisner took charge
                       14        and leadership of the City's Explorer program, was placed in charge as Jail
                       15        Supervisor for the City jail since 2008, was an ASP instructor since 2008, and
                       16        served as President of the Huntington Park Officer's Association for over a
                       17        decade.
                       18                   11.   In addition to the outstanding service and job performance described
                       19        above, during his employment with the City, Lisner also received numerous
                       20        commendations for his outstanding police work, had a twenty-two year record of
                       21        perfect attendance, donated "sick days" to people in need, and received the City's
                       22        highest honor, i.e., the Medal of Valor for his bravery in connection with an
                       23        April 15, 2016 shooting incident that occurred during a homicide investigation.
                       24                   12.   After over a decade of service as the President of the Huntington
                       25        Park Police Officer's Association (POA), Plaintiff Lisner was once again elected
                       26        to the POA board as a Trustee on or about June 6, 2016. On June 9, 2016, in his
                       27        capacity as a POA Trustee and private citizen, Lisner sent an email to POA
                       28        members discussing the unfortunate recent exodus of sworn peace officers at the
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                        1        Huntington Park police department. Since Chief Lozano had been named Chief
                       2         of Police at the City, over 10% of the City's officers had left their employment
                       3         for other agencies. Three days after Lisner sent this email, Lozano sent an email
                       4         addressing the staffing concerns raised in Lisner's email using precise language
                        5        pulled from Lisner's email.
                       6                    13.   On or about July 5, 2016, as POA Trustee and private citizen, Lisner
                        7        attended a POA meeting. During the meeting, Lisner advised the POA
                        8        membership of disturbing comments Lozano had made to the effect that as Chief
                       9         of Police, "the Community can hate you, the Officers can hate you, but if the
                      10         council supports you, you'll always have a job." In this same POA meeting,
                      11         Lisner also openly discussed the need to consider a vote of "no confidence"
                      12         against Chief Lozano. Lozano was made aware ofLisner's comments in this
                      13         meeting in regards to his call for a vote of "no confidence" for Lozano. On or
                      14         about July 19, 2016, Lisner, in his capacity as POA Trustee and private citizen,
                      15         sent an email to the POA membership expressing his concerns about the increase
                      16         in violence towards police and referenced the City's troubling staffing problems
                      17         within the police department. All the aforementioned issues raised by Lisner in
                      18         his capacity as an Association representative were matters of public concern in
                      19         that they concerned unsafe staffing issues within the police department, the
                      20         resulting violence towards members of the department as a result of the unsafe
                      21         staffing issues, and the Chief's disturbing statements that suggested that he did
                      22         not care if members of the community or his own police force hated him, as long
                      23         as the City Council would support him. As such, these communications by
                      24         Lisner constituted speech that was protected by the First Amendment of the
                      25         United States Constitution.
                      26                    14.   Between July 25, 2016 and July 28, 2016, during contract
                      27         negotiations between the City and the POA, Chief Lozano sent an email to
                      28         members attempting to limit their use of "time off." In his capacity as POA
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                         1        Trustee and private citizen, Lisner replied by email to the Chief, advising him, as
                        2         a matter of public concern, that his directive was inappropriate and that it
                        3         violated the terms of the negotiated memorandum of agreement/contract between
                        4         the City and the POA, and that the POA would have to seek the advice of its
                        5         legal counsel in connection with the Chiefs intentions to violate the terms of the
                        6         MOU. Lisner's response and actions as Trustee of the POA and private citizen
                        7         resulted in Chief Lozano being forced to issue a retraction and apologize to the
                        8         POA membership for his inappropriate attempt to violate their contract.
                        9                    15.   Just days after Lisner' s engaging in protected Association activity
                      10          by advising the Chief that his intended actions regarding officer's use of "time
                      11          off' was inappropriate, and just weeks after Lisner had engaged in protected
                      12          Association activity by expressing his opinion about the Chiefs inappropriate
                      13          remarks and his suggestion that the Association consider a vote of "no
                      14          confidence" towards Chief Lozano, Chief Lozano retaliated against Lisner for
                      15          engaging in this protected activity by ( 1) placing him on administrative leave on
                      16          August 9, 2016, and (2) instituting an unwarranted and retaliatory internal affairs
                      17          investigation against Lisner arising from comments Lisner allegedly made about
                      18          the ongoing SERMET program in the department and for actions Lisner took in
                      19          connection with his legitimate questioning of the validity and legality of a 5150
                      20          detention that had been made, just days earlier by members of the Huntington
                      21          Park police department and a social worker from an outside agency. According
                      22          to Chief Lozano, Lisner was placed on administrative leave and subjected to an
                      23          internal affairs investigation for conduct that included Lisner's alleged
                      24          "harassment" of outside social worker Samantha Lopez. Plaintiff is informed
                      25          and believes, and theron alleges, that Chief Lozano was well aware that no
                      26          harassment of Lopez took place (which was confirmed by the independent
                      27          investigation), but nevertheless Chief Lozano attempted to exert his power and
                      28          authority as Chief to persuade and/or coerce Lopez to make a false claim that
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                       1        Lisner in fact harassed her. Lisner learned of the Chiefs potentially unlawful
                       2        and unethical actions in connection with the private investigation conducted on
                       3        his behalf in connection with his defense of the internal affairs investigation that
                       4        was being conducted against him.
                       5                   16.   Although Lisner did make some comments about issues he had
                       6        with the SERMET program, at best his comments were minor issues that could
                       7        have been, and should have been, informally resolved short of any disciplinary
                       8        procedure being implemented against Lisner. In fact, the plaintiff is informed
                       9        and believes, and thereon alleges, that other members of the Huntington Park
                      10        police department have been accused of engaging in conduct far worse
                      11        (including but not limited to alleged criminal conduct by officers that resulted in
                      12        arrest and prosecution) than that alleged against Lisner, which resulted in no
                      13        discipline, or very minor disciplinary action being taken against them. Instead,
                      14        Chief Lozano kept Lisner on administrative leave for over sixteen months,
                      15        advised Lisner of his intention to demote Lisner from Sergeant to Senior Officer,
                      16        all of which, if implemented, would have caused Lisner a substantial loss of
                      17        wages and benefits.
                      18                   17.   Upon being placed on administrative leave, Lisner was warned by
                      19        the City, at least twice in writing, that he was not to communicate in any manner
                      20        with anyone at the department or the City about anything involved with or
                      21        related to the investigation, and that if Lisner did so communicate with anyone,
                      22        he was subject to termination of his employment with the City.
                      23                   18.   On or about December 5, 2016, Lisner was interviewed by
                      24        Huntington Park's Lt. Schennum and outside investigator Steve Rodig in
                      25        connection with the internal affairs investigation that had been instituted by
                      26        Chief Lozano against Lisner and reiterated his complaint that certain persons had
                      27        perpetrated an unlawful detention in violation of California Welfare &
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                             1        Institutions Code Section 5150 and the rights of the detainee under the US
                            2         Constitution.
                            3                    19.   In or about January 2017, while still out on administrative leave,
                            4         Lisner was elected as President of the POA. On March 2, 201 7, in his capacity
                            5         as a private citizen and as POA President, Lisner sent a letter to Chief Lozano
                            6         advising him that civil service rules required that Lt. Schennum's 960
                            7         appointment violated Civil Service Rules/CalPERS regulations (as well as the
                            8         California Government Code) and that to avoid such violations Schennum' s
                            9         appointment should be vacated and that his position should be filled by an acting
                         1O           Lieutenant chosen from the eligibility list of tested and qualified members of the
                         11           POA. Although the City attempted to initially justify Schennum' s appointment,
                         12           it eventually complied with the POA's request made by Lisner. Lt. Schennum
                         13           vacated his position and it was thereafter filled by an acting Lieutenant who was
                         14           an eligible and qualified member of the POA.
                         15                      20.   Although the outside investigation had been completed for two
                         16           months, Chief Lozano did not notify Lisner of his intent to discipline him until
                         17           June 29, 2017 and kept Lisner on paid administrative leave during this time. On
                         18           June 29, 2017, Chief Lozano served Lisner with a Notice of Proposed
                         19           Disciplinary Action ("Notice") which sought demotion of Lisner from Sergeant
                        20            to Senior Officer. The Notice also contained findings added by Chief Lozano
                        21            that were not even included in the findings contained in the report prepared by
                        22            the outside investigator, and these additional findings included by the Chief were
                        23            based on documents which were time-barred by the Police Officer's Bill of
                        24            Rights (POBR) and referenced Lisner discussing staffing shortages as a union
                        25            representative. The Chiefs unusual personal involvement in "investigating" this
                        26            case was outside of Department Policy (340.5.2) as any request for further
                        27            investigation should have been directed to Department Staff and not been
                        28            handled by the ultimate decision maker, depriving Lisner of due process.
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                               1                  21.   After receipt of the Notice, Lisner' s counsel engaged an investigator
                              2        to prepare Lisner's defense for the upcoming Skelly hearing. In the course of
                              3        this investigation, evidence was uncovered that certain Lieutenants in the
                              4        department, Sergeant Valle, and Chief Lozano himself, may have attempted to
                              5        persuade and/or coerce social worker Samantha Lopez into lodging a false
                              6        harassment complaint against Lisner. As this was (1) potential evidence gathered
                              7        for Lisner's defense of the disciplinary proceeding that the Chief brought against
                              8        Lisner, and (2) was second hand/hearsay information, and (3) because Lisner had
                              9        been admonished that any communications with anyone at the department or the
                           10          City could lead to his termination, Lisner did not immediately disclose, and was
                           11          not under any obligation to disclose, what his private investigator had learned
                           12          about the Chiefs potential unethical or criminal conduct in connection with the
                           13          City's investigation of him.
                           14                     22.   On September 7, 2017, Lisner's Skelly hearing took place. Despite
                           15          the Chiefs personal involvement in some aspects of the internal affairs
                           16          investigation, and despite the Chiefs personal animus towards Lisner's
                           17          Association activities, Lozano nevertheless appointed himself as the hearing
                           18          officer for Lisner' s Skelly hearing. At the Skelly hearing, the Chief (as the
                           19          hearing officer) was present along with the Huntington Park City Attorney.
                          20           When Lisner, through his counsel, advised the Chief and City Attorney during
                          21           his opening statement that he may have evidence that Lozano and other members
                          22           of the department attempted to coerce the key witness (Ms. Lopez) into asserting
                          23           a false accusation against Lisner [which would constitute potential criminal
                          24           conduct under California Penal Code§ 135.5], Lozano asked Lisner's counsel if
                          25           he "cared" to tell him where he received the information from. Lisner's counsel
                          26           told the Chief he was not going to do so at that time. Lozano concedes he
                          27           viewed Lisner's communication about the Chiefs potential misconduct as an
                          28           allegation of potential criminal conduct by the Chief. The Chief simply
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                           1     responded "OK" and did not advise Lisner or his counsel that he believed there
                          2      was any obligation on Lisner's part to provide him with that information, or that
                          3      Lisner was potentially in violation of any policy or procedure by having his
                          4      counsel refuse to provide the Chief with this infonnation at the Skelly hearing.
                           5     Lisner did provide the Chief with the names of the witness allegedly coerced and
                          6      the alleged coercers, which provided the City with sufficient infonnation to
                          7      conduct an investigation if the City desired to do so. Additionally, during this
                          8      hearing Chief Lozano was advised that he was violating Lisner's Rights pursuant
                          9      to POBR based on statutory time limits, as well as the whistleblowers act due to
                        10       the allegations of false detention for 5150WIC, the Fourth Amendment, and
                        11       policy violations by Sergeant Valle, all of which the Department thereafter failed
                        12       and refused to investigate.
                        13                  23.   Although the initial Skelly hearing was completed on September 7,
                        14       2017, on October 11, 2017, Chief Lozano served Lisner with a Notice of
                        15       Proposed Modified Disciplinary Action ("Modified Notice"). This Notice
                        16       accused Lisner of violating a series of department policies by failing to notify the
                        17       Chief of the Chiefs own alleged misconduct, i.e. the Chiefs attempt to coerce
                        18       Lopez into asserting a false harassment claim against Lisner. This Modified
                        19       Notice substantially increased the proposed discipline against Lisner from a mere
                        20       demotion to termination of his employment. Moreover, this Modified Notice
                        21       was issued by the Chief without his having conducted any investigation into the
                        22       potential allegation of unethical and criminal conduct communicated by Lisner at
                        23       the initial Skelly hearing. After the initial Skelly hearing, Lisner communicated
                        24       with the department and advised him of his desire and willingness to
                        25       appropriately cooperate in any investigation into the allegations he had raised
                        26       against the Chief and others. Despite Lisner's express effort to cooperate with
                        27       any effort made by the City to investigate the Chiefs possible misconduct, the
                        28       City and the Chief failed and refused to conduct any investigation. On December
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                          1     7, 201 7, a Skelly hearing was presided over by then acting City Manager Ricardo
                          2     Reyes. Also present on behalf of the City was the City Attorney. At the outset
                          3     of the Skelly hearing, Reyes advised Lisner and his counsel that he hadn't
                         4      bothered to read the file as of the day of the Skelly hearing, and he thereafter
                          5     asked no questions ofLisner. At this second Skelly hearing, Lisner
                         6      communicated to both Reyes and the City Attorney all information he had
                          7     regarding the Chiefs purported unethical and unlawful conduct that Lisner had
                          8     learned from his investigator. Following this second Skelly hearing, neither the
                         9      City or the Chief undertook any investigation to determine the legitimacy of
                       1O       Lisner' s prior allegations of misconduct by the Chief, and instead simply made
                       11       the decision to terminate Lisner's employment. On January 8, 2018, the City
                       12       notified Lisner of the Chiefs decision to terminate him.
                       13                  24.   Despite the City and the Chief advising Lisner-on January 8,
                       14       2018-that his conduct required the termination of Lisner' s employment, Lozano
                       15       has since given testimony, under oath, that he would have been in favor of
                       16       Lisner's continued employment with the City police department provided Lisner
                       17       would "not try to put a union label on everything" or if he did not "make issue of
                       18       matters he doesn't agree with and attempt to put the weight of the union behind
                       19       it." Chief Lozano has also admitted under oath that he has made comments to
                       20       his command staff, just prior to disciplining Lisner, that Lisner had "essentially
                       21       lost his sense of place within the rank structure of the police department as a
                       22       supervisor through his involvement with the police union or behind the curtain of
                       23       the union ... " Since making the decision to terminate Lisner, Chief Lozano has
                       24       also testified under oath that Lisner was an outstanding police officer when he
                       25       was "able to separate department matters from union matters" and that when he
                       26       was "able to apply himself as a supervisor to drive the best interest of the
                       27       department in the interest of the department he can be very effective. By the
                       28       same token, by putting a union label on something by the nature of his authority
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                        1         as a supervisor he can be influential on the rank and file to go along with his
                        2         views because along the way subordinates have to work for him."
                        3                                                     IV.
                        4                                       FIRST CAUSE OF ACTION
                        5               (Violation of U.S. Constitution, First and Fourteenth Amendments-
                        6           Retaliation for Freedom of Speech and Freedom of Association Activities-
                        7                                 Against All Defendants and DOES 1-10)
                        8                    25.   Plaintiff hereby incorporates as though set forth in full the
                        9         allegations set forth in paragraphs 1 through 24.
                       10                    26.   Defendants retaliated against Lisner as a direct result of Lisner's
                       11         exercise of his constitutional rights to free speech and participation in labor,
                       12         organization, social, and political activities as a member, agent, Trustee, and
                       13         President of the Huntington Park Police Officers Association. Lisner was also
                       14         retaliated against for his speech which accused Chief Lozano of a matter of great
                       15         public concern i.e. the Chiefs potential unethical and/or criminal conduct in
                       16         connection with the exercise of his duties as Huntington Park Chief of Police.
                       17         Absent said protected speech and/or association with the police union, Lisner
                       18         would not, and should not, have been terminated from his employment which
                       19         constituted retaliation for the aforementioned constitutionally protected activities.
                       20                    27.   The retaliation taken against Lisner evidences the fact that his
                       21         speech and union activity was not required pursuant to his official duties. His
                       22         speech in regards to union matters fell outside Lisner's official job description.
                       23         Plaintiff was not paid or compensated in any manner for his speech or
                       24         association with the union, nor his membership in the police association a
                       25         mandated part of Lisner's job duties.
                       26                    28.   In doing the things alleged herein, defendants, and each of them,
                       27         violated the rights of PlaintiffLisner to free expression, association, and
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                        1     assembly under the First and Fourteenth Amendments to the United States
                       2      Constitution.
                       3                29.   The acts and omissions of defendants, and each of them, were done
                       4      by defendants under color of state law and as policy making authorities to which
                        5     defendant City delegated its governing powers in the subject matter areas in
                       6      which these policies were promulgated or decisions taken or customs and
                       7      practices followed. The acts and omissions described above were taken by the
                       8      City's official policymakers as members charged with such responsibility. It
                       9      was, or should have been, plainly obvious to any reasonable policy making
                      10      official of the City that the acts and omissions of defendants as alleged herein,
                      11      taken singularly or in conjunction, directly violated Lisner's clearly established
                      12      constitutional rights.
                      13                30.   In doing the things alleged herein, defendants acted with malicious
                      14      intent to violate Lisner's rights and/or at least conscious, reckless, and callous
                      15      disregard of Lisner's rights and to the injurious consequences likely to result
                      16      from a violation of said rights. General and special damages are sought
                      17      according to proof. Punitive damages are sought against Lozano and any other
                      18      individual defendant that may be named at time of trial according to proof.
                      19                31.   As a further proximate result of Defendants' conduct, Plaintiff has
                      20      retained an attorney to pursue his legal rights in connection with his claim, and,
                      21      upon prevailing in this lawsuit, shall be entitled to an award of reasonable
                      22      attorneys' fees and costs pursuant to 42 U.S.C. § 1988(b).
                      23      III
                      24      III
                      25      III
                      26      Ill
                      27      Ill
                      28      III
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                            Case 2:19-cv-08914 Document 1 Filed 10/16/19 Page 14 of 14 Page ID #:14



                          1                                                      v.
                         2                                         PRAYER FOR RELIEF
                         3                  WHEREFORE, Plaintiff prays for judgment against the defendants and
                         4       that the court:
                         5                  1.     Award Plaintiff Christopher Lisner compensatory and punitive
                         6                         damages for the injuries suffered in violation of federal law in an
                         7                         amount to be determined by a jury; and
                         8                  2.     For attorneys' fees and costs as permitted by law according to proof;
                         9                  3.     For prejudgment interest as permitted by law;
                       10                   4.     For costs of suit incurred;
                       11                   5.     For such other and further relief as the court may deem just and
                       12                          proper.
                       13                                        DEMAND FOR JURY TRIAL
                       14                   Plaintiff requests a jury trial for all issues so triable.
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                       16         Dated: October 16, 2019                        MURTAUGH TREGLIA STERN &
                                                                                 DEILYLLP
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